Case 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 1 of 28 Page ID #:6




                             EXHIBIT A
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              Case 2:19-cv-07496-ODW-MRW Document          Filed 08/29/19 Page 2 of 28 Page ID #:7
                                                                      I         FOR COURT USE ONLY
                                 SUMMONS                                     (SOLO PAM USOOELA CORT
                            (CITACION JUDICIAL)
    NOTICE TO DEFENDANT:
    (AVISO AL DEMANDADO):
    ALTA NEWPORT HOSPITAL, INC., USA FOOTHILL REGIONAL MEDICAL CENTER; ALTA
    HOSPITAL SYSTEMS LLC.; ALTA NEWPORT HOSPITAL, INC.; PROSPECT MEDICAL
    HOLDINGS, INC.; AR.ACELLI LONERGAN; HOYT Y. SZE AND DOES I 'IHROUGH 100

    YOU ARE BEING SUED BY PLAINTIFF:
    (LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                 tj'vli
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     SALLIE HOLLY
                                                                                                       oill y
                                              court may decide against you without your being heard unless you respond within 30 days. Read the
     below.
                                                                                                                                                   at this court and have a copy
        You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response
                                                           not  protect  you.  Your   written   response    must   be   in proper   legal form   If you want the court to hear your
     served on the plaintiff. A letter or phone call will
                                                                                                                                           information at the California Courts
     case. There may be a court form that you can use for your response. You can find these court forms and more
                                                                                                                                             If you cannot pay the filing fee, ask
     Online Self-Help Center (www.courtinfo.ca.gov/salmelp), your county law library, or the courthouse nearest you.
                                       form.  If you  do not file your  response     on  time,   you may   lose  the   case   by  default, and    your wages, money, and property
     the court clerk for a fee waiver
     may be taken without further warning from the court
                                                                                                                                                  you may want to call an attorney
         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney,
                              cannot  afford  an  attorney, you   may   be  eligible for  free  legal services   from    a  nonprofit  legal  services   program. You can locate
     referral service. If you                                                                                                           Courts   Online   Self-Help Center
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     these nonprofit groups at the California Legal Services Web                                                                                  statutory  lien for waived fees and
                                                                                               bar association.    NOTE:      The  court  has   3
     (www.courtinfo.ca.gov/selfhelp). or by contacting your local court or county
            on any  settlement  or arbitration  award   of $10,000   or more    in a civil case.   The  court's  lien   must   be  paid  before the court will dismiss the case.
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     The name and address of the court is:                                                                 (wurne,o del case):
     (El nombre y direcciOr, do Is code as):
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     Spring Street Courthouse
      Ill North Hill Street, Los Angeles, CA 90012
                                                                                                                  is:
     The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney,
                    Is direction  ye! nümero    do  telefona    del abogado   del dernendant e, a del domandant    e quo no tienoabogado, as):
     (El nombro,
      Sanford Jossen                                                                                      *
                                                                                                                            Fax No.: (310) 546-3806
     Law Offlices of Sanford Jossen, 136 Main Street, Suite E, El Segundo, CA 90245
                                                                                                                        Phone   No.: (310)546-9118
                                                                                                                                               , Deputy
     DATE:                                                                          Clerk, by
                                                                                                                                                (AdjuntQ
      (Fecha)                                                                       (Secretesfo)
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              prueba de entrega do esta citatiOn use el fomiulailo Proof of Service of Summons,
                                           NOTICE TO THE PERSON               SERVED:   You  are served
        (SEAL)
                                           1.      C   as an individual defendant.
                                                       as the person sued under the fictitious name of (specify):
                                                   C
                                                   15k on behalf of (specify):                PA_TA- J4a c.j                        D    v-tr       4—o     c
                                                    under:    C        CCP 416.10 (corporation)                                          CCP 416.60 (minor)             C..   ':ti
                                                                                                                                         CCP 416.70 (conservatee)
                                                              C        CCP 416.20 (defunct corporation)
                                                                                                                                         CCP 416.90 (authorized person)
                                                              C        CCP 416.40 (association or partnership)                       J
                                                              C     other (specify):
                                                    C       by personal delivery on (date):
                                                                                                                                                Code of Clvii Procedure §4l220. 465
      Form Adopted for Mandatory use                                                  SUMMONS                                                                    w. dC00uIthb ca oov
        Judicial Council of California                                                                                  texisNexis® .4ulomated California            ouncil arms
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                                              SUMMONS                                                                                       (SOLD PAM USO CE LA COR TE)
                                          (CITA CION JUDICIAL)
     NOTICE TO DEFENDANT:
     (AVISO AL DEMANDADO):
     ALTA NEWPORT HOSPITAL, INC., DBA FOOTHILL REGIONAL MEDICAL CENTER; ALTA
     HOSPITAL SYSTEMS L.L.C.; ALTA NEWPORT HOSPITAL, INC.; PROSPECT MEDICAL
     HOLDINGS, INC.; ARACELLI LONERGAN; HOYT Y. SZE AND DOES I 'I'HROUGH IOU

     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTADEJIJANDANDQELDEMANDANTE):
      SALLIE HOLLY                                                                        (30W

                                               court may decide against you without your being heard unless you respond within 30 days. Read the
      below.
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         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response
                                                            not   protect  you.   Your  written   response     must   be  in proper   legal   form   if you want the court to hear your
      served on the plaintiff. A letter or phone call will
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      case. There may be a court form that you can use for your response. You can find these court forms and more
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      Online Self-Help Center (www.eouttinfo.cagov/solfhelp), your county law library, or the courthouse nearest you.
                                        form.  If you  do not  file your  response     on time,    you may    lose  the  case   by  default,   and   your wages, money, and property
      the court clerk for a fee waiver
      may be taken without further warning from the court.
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         There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney,
                        If you cannot  afford  an  attorney,  you   may   be  eligible for free   legal services    from   a  nonprofit   legal   services    program. You can locate
      referral service.                                                                                                                              Online   Self-Help Center
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      these nonprofit groups at the California Legal Services Web                                                                                  a  statutory  lien for waived fees and
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     Spring Street Courthouse
      Ill North Hill Street, Los Angeles, CA 90012
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     The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney,
                 Is direction y a/ nOmero do taléfono dol abogado del dernandant   e, o del demandante quo no Iione abogado, Os):
     (El nombro,                                                                                                             546-3806
      Sanford Jossen
                                                                                                                                              Fax No.: (310)
     Law Ofifices of Sanford Jossen, 136 Main Street, Suite E, El Segundo, CA 90245
                                                                                                                                            Phone No.: (310) 546-9118
                                                                                                                                                                               '   Deputy
      DATE:                                                                                      Clerk, by
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      (Fecha)                                                                                    (Secretario)
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                                     NOTICE TO THE PERSON          SERVED:    You  are served
      [SEAL]
                                     1.      J as an Individual defendant.
                                     2.        as the person sued under the fictitious name of (specify):
                                                     C

                                                              on behalf of (specify):          fn09                  -r           YV..ait CA--I kAcc,hQ.4
                                                                                                                                       CCP 416.60 (minor)          S
                                                      under:    C CCP 416.10 (corporation)
                                                                C CCP 416.20 (defunct corporation)                                     CCP 416.70 (conservatee)

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               Case 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 4 of 28 Page ID #:9
                                                    SUMMONS                                                                    I                   FOR COURT USE ONLY
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                                           (CITACION JUDICIAL)
    NOTICE TO DEFENDANT:
    (AVISO AL DEMANDADO):
    ALTA NEWPORT HOSPITAL, INC., DBA FOOTHILL REGIONAL MEDICAL CENTER; ALTA
    HOSPITAL SYSTEMS LL.C.; ALTA NEWPORT HOSPITAL, INC.: PROSPECT MEDICAL
    HOLDINGS, INC; ARACELLI LONERGAN; HOYT Y. SZE AND DOES I THROUGH 100

    YOU ARE BEING SUED BY PLAINTIFF:
    (LO ESTA DEMANDANDO EL DEMANDANTE):
      SALLIE HOLLY

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      NOTICE[ You have been sued. The court may decide against you without your being heard unioso you respond within 50 doya.
      below.
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         You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have
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      served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court
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      case. There may be a court form that you can use for your response. You can find these court forms and more information at the California
               Self-Help  Center  (www.courtinfo   .cagov/saifhe/p)     , your county     law  library,  or  the  courthouse    nearest   you.  If you  cannot    pay  the filing fee, ask
      Online
                                                                                                                                                                               and property
      the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money,
      may be taken without further warning from the court.
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          There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call
                         If you cannot  afford  an attorney,   you  may    be eligible   for free   legal services    from  a  nonprofit  legal  services   program.     You   can   locale
      referral service.
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       these nonprofit groups at the California Legal Services Web site
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       pager ol gravamen de /a carte antes do quo Ia code pcieda desachar at caso.
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     The name and address of the court is:                                                                                         (NOmero del Cam):
     (8 nombre i' direcc/ón do Ia Corte as):
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
     Spring Street Courthouse
      Ill North Hill Street, Los Angeles, CA 90012
     The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
                                                                                                          qua no tiene'abogado, as):
     (E/ nonibre, to diroccion y a/ nümero do te/éfono del abogado del demandante, o del demandante
     Sanford Jossen                                                                                                                              Fax No.: (310) 546-3806
     Law Offlices olSanford Jossen, 136 Main Street, Suite E, El Segundo, CA 90245
                                                                                                                                               Phone No.: (310)546-9118
                                                                                                                                                                                  , Deputy
     DATE:                                                                                        Clerk, by
                                                                                                                                                                                   (Adjunto
     (Fecha)                                                               (Secreterio)
     (For proof of service of this summons, use Proof of Service  of Summons    (form P05-010).)
     (Para prueba do entroga do esta citation use e/ fon-nulaflo Proof of Service of Summons, (P05-010)).
                                       NOTICE TO THE PERSON SERVED: You are served
      ISEALI                                                  as an individual defendant.
                                                     C        as the person sued under the fictitious name of (specify):


                                                      Gig on behalf of(spaci:                 At                tç                                     p i S.L'           'IC.

                                                      under      C   CCP 416.10 (corporation)                                                 CCP 416.60 (minor)
                                                                                                                                              CCP 416.70 (conservatee)
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                                                                 C   CCP 416.20 (defunct corporation)
                                                                                                                                              CCP 416.90 (authorized person)
                                                                 C CCP 416,40 (association or partnership)

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Case 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 5 of 28 Page ID #:10
              Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Mark Mooney




1 Sanford Joss en, Esq. #103724
   WEN SOTANTO, ESQ.    #321123     -



2 136 Main Street , Suite E
  El Segundo, CA 90245
3 Telephone: (310) 546-9118
  Facsimile: (310) 546-3806
4 IE-Mail: Jossenlaw(aoLcom
S Attorneys for Plaintiff,
  ISALLIE HOLLY
6
 7

 8                       SUPERIOR COURT FOR THE STATE OF CALIFORNIA

 9                                      FOR THE COUNTY OF LOS ANGELES

10 3ALLIE HOLLY,                                                      CASE NO.           1 9STCV242I I
11                                                                    COMPLAINT FOR DAMAGES FOR:
                            Plaintiff,
12                                                                              PUBLIC DISCLOSURE OF
        VS.                                                                 PRIVATE FACTS
13                                                                          (INVASION OF PRIVACY);
                                                                           NEGLIGENT DISCLOSURE;
14 \LTA NEWPORT HOSPITAL, INC., DBA)                                       NEGLIGENT TRAINING;
   ?OOTHILL REGIONAL MEDICAL                                                BREACH OF CONTRACT;
15 :ENTER; ALTA HOSPITAL SYSTEMS                                       S. BREACH OF FIDUCIARY
    .L.C.; ALTA NEWPORT HOSPITAL,                                           OBLIGATIONS;
16 INC.; PROSPECT MEDICAL HOLDINGS,)                                        VIOLATION OF STATUTE
   INC.; ARACELLI LONERGAN; HOYT Y.)                                        (CALIFORNIA CIVIL CODE
17 SZE AND DOES 1 THROUGH 100,                                              §56.10(a));
                                                                            VIOLATION OF 42 UNITED
18                                                                          STATES CODE § 1320d-6
                            Defendants.                                     (WRONGFUL DISCLOSURE
19                                                                          OF INDIVIDUALLY
                                                                            IDENTIFIABLE HEALTH
20                                                                          INFORMATION)

21
        Plaintiff SALLIE HOLLY (hereinafter "Plaintiff" or "HOLLY") for
22
       Complaint against ALTA NEWPORT HOSPITAL, INC., DBA FOOTHILL
23
       ONAL MEDICAL CENTER; ALTA HOSPITAL SYSTEMS L.L.C.; ALTA NEWPORT
24
       ITAL, INC.; PROSPECT MEDICAL HOLDINGS, INC.; ARACELLI LONERGAN;
25
      T Y. SZE and DOES 1 through 100, inclusive, allege as follows:
26
        BASIS FOR VENUE AND JURISDICTION:
27
         1.       At all times mentioned herein, Defendants ALTA NEWPORT
28

                                                                  1-

                                               COMPLAINT FOR DAMAGES
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1 11HOSPITAL, INC., DBA FOOTHILL REGIONAL MEDICAL CENTER; ALTA NEWPORT
2 HOSPITAL, INC.; PROSPECT MEDICAL HOLDINGS, INC. and DOES 1 through
3 100 maintained its and their principle place(s) of business and
4 operation within the jurisdiction of the Central Judicial District of
S the Los Angeles Superior Court.
6                         IDENTIFICATION OF THE PARTIES
7 B   .   DESCRIPTION OF THE PLAINTIFF:
8         2.   At all times mentioned herein, Plaintiff was a resident of
9 the County of Orange within the Central Judicial District of the
10 Orange County Superior Court.
11        3.   At all times mentioned herein, Plaintiff SALLIE HOLLY was
12 an adult female.
13 C. DESCRIPTION OF THE DEFENDANTS:
14        (1) ALTA NEWPORT HOSPITAL, INC., DBA FOOTHILL REGIONAL MEDICAL
15        CENTER:
16        4.   Plaintiff is informed and believes and thereon alleges that
17 at all times mentioned herein, Defendant ALTA NEWPORT HOSPITAL, INC.,
18 DBA FOOTHILL REGIONAL MEDICAL CENTER, a California Corporation, is a
19 corporation organized in California, conducts substantial business in
20 California, is qualified to do business under the laws of the State
21 of California, maintains executive offices in Los Angeles,
22 California, and was at all times doing business in California
23 including but not limited to offering, providing and selling
24 Healthcare services. Plaintiff is informed and believes and thereon
25 alleges that Defendant ALTA NEWPORT HOSPITAL, INC., DBA FOOTHILL
26 REGIONAL MEDICAL CENTER, a California Corporation, is authorized to
27 transact and is transacting business in California as a healthcare
28 rovider throughout the State of California to members of the public

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                               COMPLAINT FOR DAMAGES
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    1 including Plaintiff.
    2          5.   Plaintiff is informed and believes and thereon alleges that

     3 at all times mentioned herein, Defendant ARACELLI LONERGAN, is
    4 employed as Hospital Administrator by Defendant FOOTHILL REGIONAL
    S EDICAL CENTER, and is authorized to conduct business on behalf of
     6 Defendant FOOTHILL REGIONAL MEDICAL CENTER.
    7          6.   Plaintiff is informed and believes and thereon alleges that

    8 at all times mentioned herein, Defendant HOYT Y. SZE, is employed as
    9 a Privacy Officer by Defendant FOOTHILL REGIONAL MEDICAL CENTER, and
    10 his authorized to conduct business on behalf of Defendant FOOTHILL
    11 IIREGIONAL MEDICAL CENTER.
    12         (2) ALTA HOSPITALS SYSTEM L.L.C.,:
    13         7.   Plaintiff is informed and believes and thereon alleges that

    14 at all times mentioned herein, Defendant ALTA HOSPITAL SYSTEMS L.L.C.
                                                                          ts
    15 is a limited liability corporation organized in California, conduc
    16 substantial business in California, is qualified to do business under
    17 the laws of the State of California, maintains executive offices in
    18 Los Angeles, California, and Was at all times doing business in
    19 California including but not limited to offering, providing and
    20 selling Healthcare services. Plaintiff is informed and believes and
    21 thereon alleges that Defendant ALTA HOSPITAL SYSTEMS L.L.C. is
                                                                           a
    22 authorized to transact and is transacting business in California as
                                                                         of
    23 healthcare provider throughout the State of California to members
    24 the public including Plaintiff. Plaintiff is further informed and
    25 believes and thereon alleges that at all times mentioned herein
    26 Defendant ALTA HOSPITAL SYSTEMS L.L.C. is doing business as ALTA
    27 IINEWPORT HOSPITAL, INC., DBA FOOTHILL REGIONAL MEDICAL CENTER.
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1        (3) ALTA NEWPORT HOSPITAL, INC.:
2        8.   Plaintiff is informed and believes and thereon alleges that

3 at all times mentioned herein, Defendant ALTA NEWPORT HOSPITAL, INC.,
4 a California Corporation, is a corporation organized in California,
5 conducts substantial business in California, is qualified to do
6 business under the laws of the State of California, maintains
7 executive offices in California, and was at all times doing business
8 in California including but not limited to offering, providing and
9 selling Healthcare services. Plaintiff is informed and believes and
10 thereon alleges that Defendant ALTA NEWPORT HEALTH, INC., a
11 California Corporation, is authorized to transact and is transacting
12 business in California as a healthcare provider throughout the State
13 of California to members of the public including Plaintiff.
14       (4) PROSPECT MEDICAL HOLDINGS, INC.:
15       9.   Plaintiff is informed and believes and thereon alleges that

16 at all times mentioned herein, Defendant PROSPECT MEDICAL HOLDINGS,
17 INC., a California Corporation, is a Corporation organized in
18 California, conducts substantial business in California, is qualified
19 to do business under the laws of the State of California, maintains
20 executive offices in Los Angeles, California, and was at all times
21 doing business in California including but not limited to offering,
22 providing and selling Healthcare services. Plaintiff is informed and
23 believes and thereon alleges that Defendant PROSPECT MEDICAL
24 HOLDINGS, INC., a California Corporation, is authorized to transact

25 and is transacting business in California as a healthcare provider
26 throughout the State of California to members of the public including
27 Plaintiff.

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                               COMPLAINT FOR DAMAGES
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1       10.   Plaintiff HOLLY is informed and believes and thereon
2 alleges that at all times mentioned herein that Defendants ALTA
3 HOSPITAL SYSTEMS, L.L.C. and PROSPECT MEDICAL HOLDINGS, INC. owned
4 and operated and was responsible for the administration, operation
5 and business conducted by Defendants ALTA NEWPORT HOSPITAL, INC. and
6 FOOTHILL REGIONAL MEDICAL CENTER.
7       11. The true names and capacities, whether individual,
8 corporate or otherwise of Defendant DOES 1 through 50, inclusive, are
9 unknown to Plaintiffs and Plaintiffs therefore sues said Defendants
10 by such fictitious names. Plaintiffs will amend this Complaint
11 accordingly when the true names and capacities of such fictitious
12 Defendants are ascertained.
13      12. Plaintiffs are informed and believe and thereon allege that
14 [ach of the Defendants designated herein as a DOE were responsible,
15 irectly or in some other actionable manner, for the events and
16    atters, losses and damages to Plaintiff as alleged herein.
17.11     13. Plaintiff is informed and believes and thereon alleges that
18 hat all times mentioned herein, DOES 1 through 10, inclusive, were and
19 are the agents, representatives and/or employees of Defendant
20 FOOTHILL REGIONAL MEDICAL CENTER and said Defendants were at all
21 times acting within the course and scope of such agency,
22 representation and employment, and under the supervision, direction
23 and control of Defendant FOOTHILL REGIONAL MEDICAL CENTER.
24      14. Plaintiff is informed and believes and thereon alleges that
25 at all times mentioned herein, DOES 11 through 20, inclusive, were
26 and are the agents, representatives and/or employees of Defendant
27 ALTA HOSPITAL SYSTEMS, INC. and said Defendants were at all times
28 acting within the course and scope of such agency, representation and

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                               COMPLAINT FOR DAMAG
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1 employment, and under the supervision, direction and control of
2 Defendant ALTA HOSPITAL SYSTEMS, INC..
3       15. Plaintiff is informed and believes and thereon alleges that

4 at all times mentioned herein, DOES 21 through 30, inclusive, were
5 and are the agents, representatives and/or employees of Defendant
6 ALTA NEWPORT HEALTH, INC. and said Defendants were at all times
7 acting within the course and scope of such agency, representation and
8 employment, and under the supervision, direction and control of
 9 Defendant FOOTHILL REGIONAL MEDICAL CENTER.
10       16. Plaintiff is informed and believes and thereon alleges that
11 at all times mentioned herein, DOES 31 through 40, inclusive, were
12 and are the agents, representatives and/or employees of Defendant
13 ALTA NEWPORT HOSPITAL, INC., DBA FOOTHILL REGIONAL MEDICAL CENTER and
14 said Defendants were at all times acting within the c.ourse and scope
15 of such agency, representation and employment, and under the
16 supervision, direction and control of Defendant FOOTHILL REGIONAL
17 MEDICAL CENTER.
18       GENERAL ALLEGATIONS APPLICABLE TO ALL ALLEGATIONS
19       17. At all times mentioned herein Plaintiff SALLY HOLLY was a
20 patient at Defendant FOOTHILL REGIONAL MEDICAL CENTER. In this
21 connection, in March 2017, Plaintiff Sally Holly presented to and
22 submitted to Defendant FOOT-JILL REGIONAL MEDICAL CENTER for purposes
23 of the receipt of medical care, consultation and surgery for which
24 Plaintiff SALLY HOLLY agreed to pay said Defendant compensation. As
25 part of the admission process, Plaintiff SALLY HOLLY provided said
26 Defendant with her medical and personal identification information.
27 As a result of her submission for medical care, said Defendant
28 examined, treated and diagnosed Plaintiff and commemorated her

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                               COMPLAINT FOR DAMAGES
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I condition as part of her medical records. At all times mentioned
2 herein, Plaintiff SALLY HOLLY reasonably expected and had been
3 assured that her personal information and medical information as well

4 as all information obtained or derived from her examination,
S treatment and care by Defendant FOOTHILL REGIONAL MEDICAL CENTER
6 would be kept confidential and would not be disclosed in violation of
7 applicable State and Federal law.
8        18. On or about September 5, 2017 Defendant ALTA HOSPITAL
 9 SYSTEMS, LLC transmitted a letter to Plaintiff SALLY HOLLY advising
10 her that Defendant "....ALTA NEWPORT HOSPITALS, INC dba FOOTHILL
11 REGIONAL MEDICAL CENTER discovered an inappropriate disclosure of
12 your Protected Health Information("PHI"). On August 24, 2017, a new
13 employee was training on a software program by viewing medical
14 records on a computer. The employee took six photographs of medical
15 records on her personal cellular telephone, some of which were. your
16 medical records.. .the employee accidentally posted the photographs on
17 her public Facebook account. On August 25, 2107, a physician notified
18 Hospital management that the photographs had been posted... The
19 information in the medical records included your name, date of birth,
20 account number and other diagnostic and treatment information.
21       19. Upon receipt of said letter described in paragraph 18

22 above, Plaintiff Sally HOLLY contacted Defendant FOOTHILL REGIONAL
23 MEDICAL CENTER to seek remediation, but received no response.
24       20. On January 31, 2018,4 Plaintiff's counsel sent Alta Hospital
25 System, LLC. dba Foothill Regional Medical Center a letter explaining
26 Plaintiff's damages resulting from Defendant's negligence. There was
27 no response.

28 III

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                               COMPLAINT FOR DAMAGES
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1        21. On March 30, 2018, plaintiff's counsel wrote to Araceli
2 Lonergan, Hospital Administrator at Alta Hospital System, LLC.
3 dba Foothill Regional Medical Center once again explaining
4 Plaintiff's damages resulting from Defendant's negligence, There was
5 no response.
6      22. On March 30, 2018, Plaintiff's counsel wrote to Hoyt Sze,
7 Privacy Officer at Alta Hospital System, LLC. dba Foothill Regional
8 Medical Center once again explaining Plaintiff's damages resulting
9 from Defendant's negligence. There was no response.
10      23. On June 12, 2018, Plaintiff's counsel's office called
11 Defendant FOOTHILL REGIONAL MEDICAL CENTER and spoke to Celeste in
12 hospital administration regarding the disclosure of Plaintiff's
13 information. Celeste transferred the call to "Larry", the Chief
14 Operating Officer who said he would address Plaintiff's concerns.
15 Larry never got back to Plaintiff's counsel.
16      24. On June 13, 2018, Plaintiff's counsel's office called
17 Defendant FOOT REGIONAL MEDICAL CENTER's General Counsel, Ellen Chen
18 regarding these issues. Ellen Chen never responded to Plaintiff's
19 concerns.
20      25. On June 15, 2018, Plaintiff's counsel's office sent a
21 letter sent to Defendants and its employees to Ana Lopez at Defendant
22 Prospect Medical. There was no response from any of the Defendants.
23      26. On June 15, 2018, Plaintiff's counsel again called Ellen
24 Chen and spoke to Anna Lopez. There was no response from Defendants
25 or any of them.
26       27. Plaintiff alleges that she has provided more than adequate
27 notice to Defendants and each of them of her concerns. Plaintiff
28 JJalleges that Defendants and each of their conduct is indicative of a

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                               COMPLAINT FOR    DAMAGES
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1 reckless disregard for Plaintiff and Defendant's patients.
2          28. As a direct and proximate result of the aforementioned

3 acts, Plaintiff I.L. suffered emotional harm and distress and has
4 been injured in her mind and body. Defendants' conduct was willful,
S anton and despicable, and in conscious disregard of the safety and
6 health of Plaintiff SALLY HOLLY and Plaintiff HOLLY is entitled to
7 unitive and exemplary damages therefor pursuant to Civil Code §3294
8 according to proof at trial.
 9         29. As a direct and proximate result of the negligence,
10 carelessness and recklessness and conscious disregard of Defendants
11 and each of them, Plaintiff SALLY HOLLY experienced fear of identity
12 theft, embarrassment, anxiety, emotional pain and upset.
13         30. As a further direct and proximate result of Defendants and

14 each of them and Defendant's and each of its officers, directors and
15 managing agents failure to monitor, supervise and train its employees
16 to protect the privacy and confidentiality of its patients and to
17 respond to its patients and their lawful concerns, Plaintiff was
18 injured in her health, strength and activity, sustaining injury to
19 her nervous system and person, all of which injuries have caused and
20 continue to cause Plaintiff great mental, physical, emotional and
21 nervous pain and suffering. As a result of these injuries, Plaintiff
22 has suffered general damages within the jurisdiction of the Los
23 Angeles County Superior Court, the exact nature and extent of which
24 are not known at this time. Plaintiff will ask leave of this Court to
25 Ilassert the same when such damages have been ascertained.
26 11///
27 Il//I
28 Il///



                               COMPLAINT FOR DAMAGES
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1                              FIRST CAUSE OF ACTION

2 (For Public Disclosure of Private Facts (Invasion of Privacy) Against
3               ts ALTA NEWPORT HOSPITAL, INC., DEA FOOTHILL REGIONAL MEDICAL
                                                 ALTA NEWPORT HOSPITAL, INC.i
     II CENTER; ALTA HOSPITALS SYSTEM L.L.C.;
                                       SZE, ARACELLI LONERGAN, AND DOES
     IFECT MEDICAL HOLDINGS, INC. HOYT
                         1 THROUGH 50, Inclusive)
7         31. Plaintiff Holly repeats and realleges Paragraphs 1 through
8 30, inclusive, of the Complaint and incorporate said paragraphs
9 herein as if more fully set forth below.
10        32.     On or about August 24, 2017, Defendant ALTA NEWPORT
11 HOSPITAL, INC., DBA FOOTHILL REGIONAL MEDICAL CENTER; ALTA HOSPITALS
12 SYSTEM L.L.C.; ALTA NEWPORT HOSPITAL, INC.; PROSPECT MEDICAL
13 HOLDINGS, INC.'s employee, DOE 31 without plaintiff's consent,
14 invaded Plaintiff's right to privacy by photographing Plaintiffs
15 IIpe1a1, private, and identifiable medical records and posting those
16 hotoraphs to Defendant employee's public Facebook page.
17   I    33. Plaintiff HOLLY is informed and believes and thereon
18 alleges that as a direct and proximate result of Defendant's
19 employees actions and the negligent supervision and monitoring of
20 same by the named 'corporate Defendant's herein, Plaintiff's name,
21 date of birth, medical account numbers, other personal and
22 identifying information and her diagnostic, medical and treatment
23 information became publicly available without her consent, permission
24 or approval.
25      34. The act that is the basis of the invasion of privacy is
26 Defendant's employee posting the photographs of Plaintiff's medical
27 records to her public Facebook page.
28 I/I

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                                COMPLAINT FOR DAMAGES
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1      35. The disclosure by defendant was a public disclosure to a
2 large number of people in that it was posted to a publicly accessible
3      cebook page.
           36. The facts disclosed about Plaintiff were private facts that

     liPlaintiffdesired to keep private. The facts disclosed by Defendant's
6         oyee included but were not limited to confidential, personal, and
7         tifiable medical records and other identifying information
8       garding Plaintiff.
 9         37. The disclosure by Defendant's employee of the above facts
10      s offensive and objectionable to Plaintiff and to a reasonable
11      rson of ordinary sensibilities in that the records published to
12 acebook are extremely personal and private. The records reveal
13 laintiff HOLLY's medical and personal information.
14         38. The private facts disclosed by Defendant's employee were
15        of legitimate public concern, or newsworthy. The disclosed facts
16         intrusive in great disproportion to any relevance.
17         39. As a proximate result of the above disclosure, Plaintiff
18       LY was exposed to embarrassment in the community, humiliation,
19       tal anguish, and suffering, all to her general damage in an amount
20 according to proof.
21                                SECOND CAUSE OF ACTION

22                 (For Negligence (Disclosure) against all Defendants)
23         40. Plaintiff Holly repeats and realleges Paragraphs 1 through
24 0, inclusive, of the Complaint and Paragraphs 32 through 39,
25   clusive, of the First Cause of Action, and incorporates said
26      ragraphs herein as if more fully set forth below.
27         41. On or about August 24, 2017, Plaintiff was a patient of
28      fendants ALTA NEWPORT HOSPITAL, INC. and FOOTHILL REGIONAL MEDICAL

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                                  COMPLAINT FOR DAMAGES
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     JJ ,




1 CENTER.
 2          42. On or about August 24, 2017 at Foothill Regional Medical

3 Center, Defendants FOOTHILL REGIONAL MEDICAL CENTER, ALTA HOSPITALS
 4 SYSTEM L.L.C.; ALTA NEWPORT HOSPITAL, INC., PROSPECT MEDICAL
 5 HOLDINGS, INC., HOYT SZE, AND ARACELLI LONERGAN, and each of them,
 6 were managing, maintaining, in possession of, or in control, of
 7 Plaintiff HOLLY's medical records and all related personal and
 B identifying information. Defendants FOOTHILL REGIONAL MEDICAL
 9 CENTER, ALTA HOSPITALS SYSTEM L.L.C., ALTA NEWPORT HOSPITAL, INC.,
10 HOYT SZE, AND ARACELLI LONERGAN were bound by a contractual
11 relationship with Plaintiff HOLLY as their client, patient, patron,
12 and consumer.
1311        43. On or about August 24, 2017 at Foothill Regional Medical

14 jjCenter, Defendants FOOTHILL REGIONAL MEDICAL CENTER, ALTA HOSPITALS
15 SYSTEM L.L.C., ALTA NEWPORT HOSPITAL, INC., PROSPECT MEDICAL
16 HOLDINGS,-INC., HOYT SZE, AND ARACELLI LONERGAN negligently managed,
17 maintained, possessed, or controlled Plaintiff's medical records and
16 supervised its staff so as to cause or to negligently fail to prevent
19 Plaintiff's personal, private, identifiable medical records to be
20 published on a public Facebook page and to directly and legally cause
21 the injuries and damages described below.
22          44. As a direct and legal result of the negligence of

23 Defendants FOOTHILL REGIONAL MEDICAL CENTER, ALTA HOSPITALS SYSTEM
24 L.L.C., ALTA NEWPORT HOSPITAL, INC., PROSPECT MEDICAL HOLDINGS, INC.,
25 HOYT SZE, AND ARACELLI LONERGAN, and each of them, Plaintiff was
26 [injured when her personal, private, and identifiable medical records
27 ere posted to a public Facebook page causing Plaintiff great mental,
28 hysical, emotional, and nervous pain and suffering. As a result of

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                               COMPLAINT FOR DAMAGES
Case
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                                                       es.
1 these injuries, Plaintiff has suffered general damag
                                                             gence of
2      45. As a further direct and legal result of the negli
                                                          TALS SYSTEM
3 Defendants FOOTHILL REGIONAL MEDICAL CENTER, ALTA HOSPI
                                                        HOLDINGS, INC.,
4 L.L.C., ALTA NEWPORT HOSPITAL, INC., PROSPECT MEDICAL
                                                           tiff HOLLY
S HOYT SZE, AND ARACELLI LONERGAN, and each of them, Plain
                                                        ses. Plaintiff
6 has incurred, and will continue to incur, legal expen
                                                        expenses that
7 HOLLY does not know at this time the exact amount of
                                                       future.
8 have been incurred and that will he incurred in the
                                                               gence of .
9       46. As a further direct and legal result of the negli
                                                           TALS SYSTEM
10 Defendants FOOTHILL REGIONAL MEDICAL CENTER, ALTA HOSPI
                                                       AL HOLDINGS, INC.,
11 L.L.C., ALTA NEWPORT HOSPITAL, INC., PROSPECT MEDIC
                                                       Plaintiff must
12 HOYT SZE, AND ARACELLI LONERGAN, and each of them,
                                                          r of the damage
13 expend money in an amount aècording to proof for repai
                                                      a reasonable sum
14 to her reputation, credit, and character, which is
                                                       when the full
15 for this repair. Plaintiff will amend her Complaint
                                                       proof at Trial.
16 extent of her damages becomes known or according to
17                      .
                           THIRD CAUSE OF ACTION

18            (For Negligent Training Against All Defendants)
                                                               gh 30,
19      47. Plaintiff repeats and realleges Paragraphs 1 throu
                                                      39, inclusive, of
20 inclusive, of the Complaint, Paragraphs 32 through
                                                        inclusive, of
21 the First Cause of Action, Paragraphs 41 through 46,
                                                         raphs herein as
22 the Second Cause of Action and incorporates said parag
23 if more fully set forth below.
                                                               nt of
24      48. On or about August 24, 2017, Plaintiff was a patie
                                                       Regional Medical
25 Defendants Alta Newport Hospital, Inc. and Foothill
26 Center.
                                                                  ILL REGIONAL
27   1       49.     On or about August 24, 2017, Defendants FOOTH
                                                                   RT HOSPITAL,
28 IMEDICAL        CENTER, ALTA HOSPITALS SYSTEM L.L.C.,ALTA NEWPO

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                                   COMPLAINT FOR DAMAGES
         4
Case
   4. 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 18 of 28 Page ID #:23



                                                     ARACELLI LONERGAN
1 INC., PROSPECT MEDICAL HOLDINGS, INC HOYT SZE, AND
                                                       Inc. and
2 were in control of Defendants Alta Newport Hospital,
3 Foothill Regional Medical Center employee training.
                                                            REGIONAL
4      50. On or about August 24, 2017, Defendants FOOTHILL
                                                     NEWPORT HOSPITAL,
S MEDICAL CENTER, ALTA HOSPITALS SYSTEM L.L.C., ALTA
                                                       ARACELLI
6 INC., PROSPECT MEDICAL HOLDINGS, INC., HOYT SZE, AND
                                                      cted Defendants
 7 LONERGAN negligently controlled, managed, or condu
                                                     Medical Center's
 8 Alta Newport Hospital, Inc. and Foothill Regional
                                                      yee to publish
 9 employee training so as to cause Defendant's emplo
                                                         al records and
10 Plaintiff's personal, private, and identifiable medic
                                                        es described
11 to directly and legally pause the injuries and damag
12 elow.
                                                                of
13        51. As a direct and legal result of the negligence
                                                             TALS SYSTEM
14   Defendants FOOTHILL REGIONAL MEDICAL CENTER, ALTA HOSPI
                                                            HOLDINGS, INC.,
15   L.L.C., ALTA NEWPORT HOSPITAL, INC., PROSPECT MEDICAL
                                                            was hurt and
16   HOYT SZE, AND ARACELLI LONERGAN negligence, Plaintiff
                                                           le medical
17   injured in that her personal, private, and identifiab
                                                            tal, Inc. and
18   records was published to Defendants Alta Newport Hospi
                                                               ook page
19   Foothill Regional Medical Center employee's public Faceb
                                                               tiff great
20   which injuries have caused, and continue to cause, Plain
                                                              ring. As a
21   mental, physical., emotional, and nervous pain and suffe
                                                            al damages.
22   result of these injuries, Plaintiff has suffered gener
                                                                   gence of
23        52. As a further direct and legal result of the negli
                                                          L.L.C. AND
24   ALTA NEWPORT HOSPITAL, INC., ALTA HOSPITALS SYSTEM
                                                               NGS, INc.,
25   FOOTHILL REGIONAL MEDICAL CENTER, PROSPECT MEDICAL HOLDI
                                                    does not know at
26 Plaintiff will incur related expenses. Plaintiff
                                                    been incurred and
27 this time the exact amount of expenses that have

28 that will be incurred in the future.

                                           14-

                                            FOR DAMAGES
Case
   C. 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 19 of 28 Page ID #:24



                                                          negligence of
1      53. As a further direct and legal result of the
                                                 ALTA HOSPITALS SYSTEM
2 IlDefendants FOOTHILL REGIONAL MEDICAL CENTER,
                                                  MEDICAL HOLDINGS, INC.,
311L.L.C., ALTA NEWPORT HOSPITAL, INC., PROSPECT
                                                 them, Plaintiff must
4 HOYT SZE, AND ARACELLI LONERGAN, and each of
                                                 reputation, credit, and
5 expend money for repair of the damage to her
                                                       ir.
6 llcharacter, which is a reasonable sum for this repa
7                           FOURTH CAUSE OF ACTION

8             (For Breach of Contract Against All Defendants)
                                                        1 through 30,
9       54. Plaintiff repeats and realleges Paragraphs
                                                         graphs herein as
10     usive of the Complaint and incorporates said para
11 if more fully set forth below.
                                                        of Section 1812.10
12      55. This action is subject to the provisions
                                                 Civil Code.
13 of the Civil Code and Section 2984.4 of the
                                                           ty of Orange,
14      56. On or about August 24, 2017, at Tustin, Coun
                                                ALTA NEWPORT HOSPITAL,
15 California, Plaintiff HOLLY and Defendants
                                                   red into a written
16 INC. AND FOOTHILL REGIONAL MEDICAL CENTER ente
                                               ts agreed to provide
17 agreement, pursuant to. which said Defendan
                                                   . In this connection,
18 Plaintiff HOLLY with medical care and services
                                                medical information,
19 said Defendants gathered Plaintiff HQLLY's
                                                   ormed examinations and
20 personal information and •medicàl Mstory, perf
                                                said personal and medical
21 diagnostic services and commemorated all of
                                               rds and chart. In
22 information within Plaintiff's medical reco
                                                ts promised and agreed to
23 connection with the foregoing, said Defendan
                                             maintain the privacy of
24 comply with all state and federal laws to
                                              cal information.
25 Plaintiff's confidential personal and medi
                                                          nants, and
26      57. Plaintiff has performed all conditions, cove
                                                d in accordance with the
27 promises required on her part to be performe
28 terms and conditions of the contract.
                                           15-

                                COMPLAINT FOR DAMAGES
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                                                             the
1       58. On or about August 24, 2017, Defendants breached
2       act by publishing Plaintiff's personal, private, and
                                                                consent.
3'      ifiable medical records without Plaintiff's approval or
4       59. As a result of Defendant's breach of the contract,
                                                          e in a sum of
5 Plaintiff has suffered emotional distress, to her damag
6 according to proof.
7                              FIFTH CAUSE OF ACTION
                                                                   )
8       (For Breach of Fiduciary Obligation Against All Defendants
                                                                gh 30,
 9      60. Plaintiff repeats and realleges Paragraphs 1 throu
                                                          raphs herein as
10 Inclusive of the Complaint and incorporates said parag
11 if more fully set forth below.
                                                                 tiff for
12      61. By entering into a contractual agreement with Plain
                                                          NEWPORT
1.3 medical care, treatment, or attention Defendants ALTA
                                                        have created a
14 HOSPITAL, INC. AND FOOTHILL REGIONAL MEDICAL CENTER
                                                       tiff and said
15 fiduciary relationship between Defendants and Plain
                                                        .
16 fiduciary relationship existed at all relevant times
17      62. Defendants ALTA NEWPORT HOSPITAL, INC. AND FOOTHILL
                                                         duty to
18 REGIONAL MEDICAL CENTER have breached their fiduciary
                                                        First Cause of
19 Plaintiff by the acts and omissions set forth in the
                                                       n, Fourth Cause
20 ction, Second Cause of Action, Third Cause of Actio
                                                       herein.
21 of Action, all to Plaintiff's damages, as set forth
22                             SIXTH CAUSE OF ACTION
                                                               st          All
23      (For Violation of Statute (Civil Code §56.10(a)) Again
24                                   Defendants)
                                                                gh 30,
25      63. Plaintiff repeats and realleges Paragraphs 1 throu
                                                          inclusive, of
26 Inclusive of the Complaint, Paragraphs 32 through 39,
                                                           41 through 46
27 the First Cause of Action of the Complaint, Paragraphs
                                                         53 of the Third
28 of the Second Cause of Action, Paragraphs 48 through

                                          16-

                                COMPLAINT FOR DAMAGES
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                                               graphs herein as if more
1 fiCause of Action and incorporates said para
2 Itfully set forth below.
                                                                   HOSPITAL,
 3 11       64.     At all times mentioned Defendants ALTA NEWPORT
                                                                  engaged in
 4 INC. AND        FOOTHILL REGIONAL MEDICAL CENTER were entities
                                                 ned by California Civil
 S the business of providing health care as defi
                                                 ty Code §1200 et seq.
 6 Code §56.05(m) and California Health and Safe
                                                        member of the class
 7          65. At all times mentioned Plaintiff was a
                                                       Civil Code §56.10(a).
 8 Ilof   persons sought to be protected by California
                                                         s as alleged herein
 9           66. By the aforementioned acts and omission
                                                            REGIONAL MEDICAL
10 Defe     ndants ALTA NEWPORT HOSPITAL, INC. AND FOOTHILL
                                                          fornia Civil Code
11        TER violated their statutory duties within Cali
                                                         to photograph and
12        .10(a) and §56.101 by allowing their employee
                                                       onal, private, and
13        t to a public Facebook page Plaintiff's pers
14           67.     identifiable medical records.

.15                              SEVENTH CAUSE OF ACTION
                                                         6-2 Against All
16           (For Violation of Statute (42 U.S.C. § 1320

17                                     Defendants)
                                                      hs 1 through 30!
18      68. Plaintiff repeats and realleges Paragrap
                                              through 39, inclusive, of
19 Inclusive of the Complaint, Paragraphs 32
                                             t, Paragraphs 41 through A6
20 the First Cause of Action of the Complain
                                              48 through 53 of the Third
21 of the Second Cause of Action, Paragraphs
                                              of the Fifth Cause of
22 Cause of Action, Paragraphs 61 through 62
                                                 h Cause of Action and
 23 Action, Paragraphs 64 through £6 of the Sixt
                                              more fully set forth below.
 24 incorporates said paragraphs herein as if
                                                      within the
 25      69. Defendants and each of them are persons
                                             1320d -2.
 26 definition provided in Title 42 U.S.C. §
 27 J)///

 28 Il//I

                                            17-

                                   COMPLAINT FOR DAMAGES
Case
  4 .
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                                                        information
1        70. Title, 42 U.S.C. § 1320d-2 (Standards for
                                                        part:
2 tr   ansactions and data elements) states in relevant
                                                     of this title who
3       Each person described in section 1320d-1 (a)
                                             shall maintain reasonable
4 haintains or transmits health information
                                              and physical safeguards-
5 and appropriate administrative, technical,
                                               ity of the information
6 (A) to ensure the integrity and confidential
                                                  ted-
   (B) to protect against any reasonably anticipa
                                          or integrity of the
El (1) threats or hazards to the security
       formation; and
                                            the information; and
10 (ii) unauthorized uses or disclosures of
                                                part by the officers and
11 (C) otherwise to ensure compliance with this
12 employees of such person.
                                                       wrongful
13      71. Plaintiff SALLY HOLLY alleges that by the
                                               rmation and failure to
14 disclosure of her personal and medical info
                                             the manner described in
15 rotéct, prevent or guard against same in
                                                violated Title 42 U.S.C.
16 this Complaint, Defendants and each of them
17 § 1320d-5.
                                                             for failure to.
18         72. Title 42 U.S.C. § 1320d-5 (General penalty
                                                     es in relevant part:
19   comply with requirements and standards) stat
                                                         n in which it is
20   (C) in the case of a violation of such provisio
                                                        ful neglect-
21   established that the violation was due to will
                                                      d in subsection
22   (1) if the violation is corrected as describe
                                              that is at least the amount
23   (b) (3) (A) , [1) a penalty in an amount
                                                       ed the amount described
24    described in paragraph (3) (C) but not to exce
25 in paragraph (3) (D)
                                             raph is $10,000 for each
26 (C) the amount described in this subparag
                                              nt imposed on the person
27 such violation, except that the total amou
                                                irement or prohibition
28 for all such violations of an identical requ

                                           RM
                                COMPLAINT FOR DAMAGES
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1 during a calendar year may not exceed $250,000; and
                                                        000 for each
2 (0) the amount described in this subparagraph is $50,
                                                        on the person
3 such violation, except that the total amount imposed
                                                       or prohibition
4 for all such violations of an identical requirement
5 during a calendar year may not exceed $1,500,000.
                                                         seeks
6      73. Based on the foregoing, Plaintiff accordingly
                                                       d-5.
7 statutory damages pursuant to Title 42 U.S.C. § 1320
8                       FOR ALL CAUSES OF ACTION:
                                                                  ress .and
9       1.      For general damages for mental and emotional dist
                                                               trial;
10              other incidental damages according to proof at
11       2.     For cost of suit hereih incurred;
                                                                  according
12       3.     For special damages for medical services incurred
13              to proof at trial.
                                                                 Court may deem
14       4.     For such other and further relief as the
15              just and proper.
16                          FOR THE FOURTH CAUSE OF ACTION:
                                                                g to proof
17       1.     For attorney's fees and costs incurred accordin
18              at trial;
                                                                ACTION:
19            FOR   THE FIRST, SECOND, THIRD AND FIFTH CAUSE OF

20       1.     For punitive and exemplary damages;          -




21                        FOR THE SIXTH CAUSE OF ACTION:
                                                              exceed three
22       1.     Compensatory damages, punitive damages not to
                                                           not to exceed
23              thousand dollars ($3,000), attorneys' fees
                                                            s of litigation
24              one thousand dollars ($1,000), and the cost
25                  pursuant to Civil Code §56.35.

26                          FOR THE SEVENTH CAUSE OF ACTION:
                                                        C. § 1320d-2.
27       1. Statutory damages pursuant to Title 42 U.S.
28
                                           19-

                                  COMPLAINT FOR DAMAGES
Case
   Ii,
       2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 24 of 28 Page ID #:29



                                             ,000; and
1 during a calendar year may not exceed $250
                                            raph is $50,000 for each
2 (D) the amount described in this subparag
                                             nt imposed on the person
3 such violation, except that the total amou
                                               irement or prohibition
4 for all such violations of an identical requ
                                             00,000.
5 during a calendar year may not exceed $1,5
                                                      gly seeks
6      73. Based on the foregoing, Plaintiff accordin
                                                 § 1320d-5.
711statutory damages pursuant to Title 42 U.S.C.
8                        FOR ALL CAUSES OF ACTION:
                                                            l distress and
9       1.      For general damages for mental and emotiona
                                                             at trial;
10              other incidental damages according to proof
11       2.     For cost of suit herein incurred;
                                                              rred according
12       3.     For special damages for medical services incu
13              to proof at trial.
                                                                 court may deem
14       4.     For such other and further relief as the
15              just and proper.
16                          FOR THE FOURTH CAUSE OF ACTION:
                                                             rding to proof
17       1.     For attorney's fees, and costs incurred acco
18              at trial;
                                                          E OF ACTION:
19            FOR THE FIRST, SECOND, THIRD AND FIFTH CAUS
20       1.     For punitive and exemplary damages;
21                        FOR THE SIXTH CAUSE OF ACTION:
                                                           to exceed three
22       1.     Compensatory damages, punitive damages not
                                                      fees not to exceed
23              thousand dollars ($3,000), attorneys'
                                                             s of litigation
24               one thousand dollars ($1,000), and the cost
25               pursuant to civil Code §56.35.
26                        FOR THE SEVENTH CAUSE OF ACTION:
                                                    U.S.C. § 1320d-2.
27        1. Statutory damages pursuant to Title 42
28
                                           19-

                                 COMPLAINT FOR DAMAGES
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                  \, 2019
                                                                               _
                                                                      _________

1 DATED: July                              SAN
                                                _________

                                                     JOSSEN
                                                           _________




                                           Att orn ey for Plaintiff
2                                              LY  HOLLY
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                                COMPLAINT FOR DAMAGES
        Case 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 26 of 28 Page ID #:31
•1'                                                                                                     Reserved (or Cleric's File Stamp
                     SUPERIOR COURT OF CALIFORNIA
                        COUNTY OF LOS ANGELES
      COURTHOUSE ADDRESS:                                                                                         FILED
      Stanley Mosk Courthouse                                                                          superaoccouaofCalifornia
                                                                                                         tountycfthsAng&s
      111 North Hill Street, Los Angeles, CA 90012
                                                                                                             01109/2019
                                                                                             !k)arilk Car5m—.E;tooufve0ffiw) Oak of Cato
                      NOTICE OF CASE ASSIGNMENT
                                                                                                   Heather A. Floffis-Hernanc%9j ly
                            UNLIMITED CIVIL CASE

                                                                                        CASE NUMBER:

      Your case is assigned for all purposes to the judicial officer indicated below.   1 9STCV242 11

                              THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                   ASSIGNED JUDGE               DEPT I ROOM                       ASSIGNED JUDGE                         DEPT              ROOM
       V     MarkV. Mooney                     68




        Given to the Plaintiff/Cross-ComplainantlAttorney of Record   Sherri R. Carter, Executive Officer/Clerk of Court
        on 07/12/2019                                                         By Heather A. Flores-Hernandez                               ,Deputy Clerk
                   (Date)
  LACIV 190 (Rev 6/16)         NOTICE OF CASE ASSIGNMENT                     -   UNLIMITED CIVIL CASE
  LASC Approved 05/06
     Case 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 27 of 28 Page ID #:32
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court,
                                                                                                                              are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES'
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
                                                                                                               for all purposes
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment
to ajudge, or if a party has not yet appeared, within IS days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,'
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




 LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT                        -   UNLIMITED CIVIL CASE
 LASC Approved 05/06
      Case 2:19-cv-07496-ODW-MRW Document 1-1 Filed 08/29/19 Page 28 of 28 Page ID #:33
         ..-SUPERIOR COURT OF
                COUNTY OF LOS ANGELES                                                                          FILED
     COURTHOUSE ADDRESS:                                                                              Stst Cowl of Cokla'via
   Stanley Mosk Courthouse                                                                                tmtyof itsMgoløs
   111 North Hill Street, Los Angeles, CA 90012                                                            071150019
     PLAiNTIFF:
                                                                                                ra Cnw,Ezi1st0/ Oe*otCo.
   Salle Holly
                                                                                                B)'    Tony Sot
   DEFENDANT:
   ALTA NEWPORT HOSPITAL, INC. et al
                                                                                                CASE NUMBER:
                  NOTICE OF CASE MANAGEMENT CONFERENCE                                          19S1CV24211
  ro THE PLAINTIFF(S)JATTORNEY(SI FOR PLAINTIFF(S) OF RECORn

  You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and confer with all
  parties/attorneys of record about the matters to be discussed no later than 30 days before the Case Management Conference.
  Your Case Management Conference has been scheduled at the courthouse address shown above on:

                                      Date:                     Time:                  Dept.:
                                              10/25/2019                8:30 AM                 68
 NOTICE TO DEFENDANT: THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                        DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.

 Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement (Judicial Council form #
 CM-11 10) must be filed at least 15 calendar days prior to the Case Management Conference. The Case Management Statement
 may be filed jointly by all parties/attorneys of record or individually by each party/attorney of record. You must be familiar with the
 case and be fully prepared to participate effectively in the Case Management Conference.

 At the Case Management Conference, the Court may make pretrial orders including the following, but not limited to, an order
 establishing a discovery schedule; an order referring the case to Alternative Dispute Resolution (ADR); an order reclassifying the
 case; an order setting subsequent conference and the trial date; or other orders to achieve the goals of the Trial Court Delay
 Reduction Act (Gov. Code, § 68600 et seq.)

 Notice is hereby given that if you do not file the Case Management Statement or appear and effectively participate at the Case
 Management Conference, the Court may impose sanctions, pursuant                   ocal Rule 3.37, Code of Civil Procedure
 sections 177.5, 575.2, 583.150, 583.360 and 583.410, Govemrnent Cod                 8, subMAW          jnj jjtn)a Rules of
 Court, rule 2.2 et seq.


 Dated: 07/15/2019                                                                              Mark V. Mooney IJudge
                                                                                                  Judicial Officer

                                                     CERTIFICATE OF SERVICE

I, the below named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a party to the cause
herein, and that on this date I served the Notice of Case Management Conference upon each parts' or counsel named below:

JZ    by depositing in the United States mail at the courthouse in Los Angeles                California, one copy of the original
                                                                                                     ,


      filed herein in a separate sealed envelope to each address as shown below with the postage thereon fully prepaid.

El by personally giving the party notice upon filing of the complaint.
       Sanford Jossen
       136 Main Street
       Suite E
       El Segundo, CA 90245                                                Sherri R. Carter, Executive Officer I Clerk of Court

Dated: 07/15/2019                                                                                    By Terry Scott
                                                                                                                     Deputy Clerk
LAW 132(Rev.07/13)                                                                                         Cal. Rules of Court, rules 3.720-3.730
LASC Approved 10-03                      NOTICE OF                                                         LASC Local Rules, chapter Three
For Optional use               CASE MANAGEMENT CONFERENCE
